                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


    UNITED STATES OF AMERICA,

                 Plaintiff,

        v.                                          Case No. 1:24-cv-838

    CITY OF DURHAM, NORTH
    CAROLINA,

                 Defendant.


       JOINT MOTION TO STAY ALL CASE MANAGEMENT DEADLINES

        Plaintiff United States of America and Defendant City of Durham, North Carolina

respectfully move the Court to stay all applicable case management deadlines pending the

Court’s resolution of the Parties’ Joint Motion for Provisional Approval and Entry of

Consent Decree, Dkt. No. 2.1 In support of this Motion, the Parties state as follows:

        1. On October 7, 2024, the United States filed a Complaint commencing this

             action, together with the Joint Motion for Provisional Approval and Entry of

             Consent Decree and the Parties’ executed Consent Decree. See Dkt. Nos. 1–3.

        2. On December 16, 2024, the Court held a Motion Hearing at which it directed

             the Parties to submit supplemental briefing “to address the application, or not,

             of Ricci and if Ricci does apply, why there is a strong basis in evidence.” Dec.

             16, 2024 Minute Entry. That briefing is due on January 15, 2025.


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 The Parties do not request that the Court stay or extend any deadline related to the
supplemental briefing that is due on January 15, 2025.




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      3. Under Federal Rule of Civil Procedure 4(m), the United States has until

          January 6, 2025 to serve the Summons and Complaint on the City of Durham.

          To conserve the Parties’ resources, the United States has not yet served the

          City by “delivering a copy of the summons and of the complaint to its chief

          executive officer,” as required when serving a state or local government. Fed.

          R. Civ. P. 4(j)(2).

      4. To further conserve the Court’s and the Parties’ resources, the Parties request

          that the Court stay all applicable case management deadlines pending the

          Court’s resolution of the Joint Motion for Provisional Approval and Entry

          following the submission of supplemental briefing. See Seneca Ins. Co., Inc. v.

          Fayetteville Cross Creek, LLC, 528 F. Supp. 3d 397, 403 (M.D.N.C. 2021)

          (noting that the Court “has the inherent power to stay proceedings to achieve

          equity and to ensure the efficient management of its docket”) (internal

          quotation marks and citations omitted).

      For the foregoing reasons, the Parties respectfully request that the Court grant their

Motion and stay all applicable case management deadlines, including the United States’

deadline to serve the Summons and Complaint on the City of Durham, pending the

Court’s resolution of the Joint Motion for Provisional Approval and Entry of Consent

Decree. A proposed order is attached.



Dated: December 19, 2024

Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2024, I electronically filed the foregoing

Joint Motion to Stay All Case Management Deadlines using the Court’s CM/ECF system,

which will send notification of such filing to all counsel of record.

                                                         /s/ Robert Rich




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